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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

RESCUECOM CORPORATION, Civil Case No.
Plaintiff,
COMPLAINT
~VS-
PLAINTIFF DEMANDS
GOOGLE, INC. TRIAL BY JURY
Defendant.

Plaintiff, RESCUECOM CORPORATION, as and for its complaint against defendant
GOOGLE, INC., alleges as follows:
JURISDICTION AND VENUE
1, This Court has jurisdiction over this matter under 15 U.S.C. 1331, 1338 (a) and
(b), and 1121(a), involving violations of the Lanham Act, and jurisdiction over the State law claims

under 15 U.S.C. 1367.

2. Venue is invoked under 28 U.S.C. 1391(b).
PARTIES
3. Plaintiff Rescuecom Corporation is a corporation incorporated under the laws of

the State of New York, with its principal place of business located at 2560 Burnet Ave., Syracuse, New
York, 13206.

4, Upon information and belief, defendant Google, Inc. (hereafter, “Google”) is a
corporation organized under the laws of the State of Delaware with its corporate offices located at 1600

Amphitheatre Parkway, Mountainview, CA 94043.

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BRIEF SUMMARY OF THE CASE
5. Defendant Google operates for its own profit an Internet search engine which is
claimed by defendant to be a popular, if not the most popular method Internet Users employ to obtain
information and shop for goods and services on the Internet.

6. Defendant Google has improperly infringed upon and diluted Rescuecom
Corporation’s name and trademark “Rescuecom” by selling the trademark “Rescuecom” to Rescuecom
Corporation’s competitors as a keyword so that when an Internet User searches for “Rescuecom” on
defendant Google’s Internet search engine, the competitor’s advertisement hyperlink will appear on the
first page of the search results. This enables Google and plaintiffs competitors to use the Rescuecom
trademark to place their advertising hyperlinks in front of consumers who specifically search for
Rescuecom Corporation, thereby diverting a percentage of such Internet Users from Rescuecom
Corporation and enjoying and benefitting from all of the goodwill and “buyer’s momentum” associated
with plaintiff's valuable trademark, but at a infinitesimal fraction of the cost.

7. Defendant Google thereby profits financially from infringing upon and diluting
plaintiff's protected trademarks and assisting and encouraging third parties to do so as well.

FACTUAL BACKGROUND

8. Rescuecom Corporation is a computer services franchising business that is
headquartered in Syracuse, New York, but offers franchises nationwide. Currently Rescuecom
Corporation has 67 franchises. Rescuecom Corporation, through its franchised businesses, is in the
business of providing computer services to individuals and businesses, including computer repair,

consulting, sales, networking, and Internet services.
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9. Rescuecom Corporation offers its franchisees the benefit of use of its valuable
trademarks and its proven business system, including 24/7/365 telephone answering, dispatch and
customer service. Rescuecom expends substantial sums every year in advertising and promoting its name
and trademark, “Rescuecom” throughout the United States. Rescuecom Corporation’s unique business
system enables and assists computer professionals and computer services companies to operate and grow
their own computer servicing businesses. Rescuecom Corporation handles all of the front office and back
office needs for all of its franchisees, enabling them to focus on providing services to customers. Most
importantly, Rescuecom franchisees operate under and benefit from the “Rescuecom” name, trademarks,
logo and the goodwill and reputation associated with them.

10. Through great expense and care, Rescuecom Corporation has become well known
and famous in its market and has acquired a reputation for excellence and outstanding service both to
customers and Rescuecom franchisees. As a result, Rescuecom Corporation’s reputation, and the
goodwill associated with its name and trademark “Rescuecom” are very valuable business assets, which
Rescuecom vigorously protects.

11. Rescuecom Corporation’s name and trademark “Rescuecom” have become
distinctive and famous and serve to distinguish Rescuecom Corporation’s reputation, goods and services
from its competition. The relevant market recognizes and associates the Rescuecom name with
Rescuecom Corporation and its franchisees only. Part of the benefit of this notoriety is that potential
franchisees, and potential customers will search specifically for Rescuecom Corporation through a variety
of means, including use of defendant Google’s Internet Search Engine.

12. Defendant Google has as its primary business the operation of an Internet search

engine located at Google.com (hereafter “Internet Search Engine”). Google claims to be the most
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popular Internet Search Engine available on the World Wide Web, and purports to maintain proprietary,
patented software which lists websites in order of relevance to the search terms input by an Internet User.

13. An Internet Search Engine is a website which allows the Internet User to type in
a search term, and responds with a list of websites which relate to that search term. The list is usually
in order of relevance, with the most relevant websites appearing first, and are also often voluminous,
often listing thousands of websites (hereafter “Search Results”).

14. The Internet is a global network of millions of connected computers which over
the last ten to fifteen years has revolutionized how individuals and businesses operate and communicate.
The World Wide Web is a portion of the Internet which is designed to display information visually on
“websites” which are collections of connected “webpages”. Websites are located and identified by their
“domain names’, which is the name of the website, followed by the appellation .com or .org or .biz, etc.
For example, defendant’s Internet Search Engine is located at the domain name Google.com. Rescuecom
Corporation’s main website appears at Rescuecom.com.

15. Rescuecom Corporation conducts a substantial amount of its business over the
Internet, and receives an average of 17,000 to 30,000 visitors to its websites each month. Rescuecom
advertises over the Internet, including advertising at defendant Google’s Internet Search Engine.

16. Because of the nature of Rescuecom Corporation’s services, which are computer
related, the vast majority of potential Rescuecom franchisees and potential customers of Rescuecom
Corporation’s services use the Internet and the World Wide Web to do business and search for goods and
services.

17. Among Internet Users, there are two primary ways of attempting to find the

website ofa particular company. First, Internet Users may guess that the website of a particular company
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will use the company’s name or trademark as a “domain name”, and input that domain name into an
Internet Browser which will display the contents of such website.

18. The second primary way an Internet User may attempt to find the website of a
particular company is to type in that company’s known trademarks or name into an Internet Search
Engine.

19, Google claims, and upon information and belief most Internet Users who perform
searches on Google believe, that the results given by Google’s Internet Search Engine are listed in order
of relevance to the search terms input to the Search Engine, with the most relevant websites appearing
first.

20. By simply using defendant Google’s Internet Search Engine, Internet Users are
identifying to Google the subjects they are interested in, the company they are looking for, or the goods
and services they wish to buy. This allows Google to obtain a significant percentage of its profit from
the sale of “contextual advertising” space, that is advertising space which allows companies to place their
advertising in front of consumers who have already identified themselves as interested in products or
services similar to theirs. This is more effective that demographic advertising which only seeks to place
advertising in front of those who, because of certain characteristics such as age, location, profession, etc.,
may be likely to be interested in such goods and services (T.V., radio, magazine advertising, etc.).

21. Upon information and belief, defendant Google derives over 97% of its revenue
from the sale of advertising.

22. Google offers a program called “AdWords” which allows advertisers to bid for
their advertising hyperlinks to appear in response to particular search terms input by Internet Users

(hereafter, ““Keywords”). The advertising hyperlinks, called “Sponsored Links”, appear either to the right

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of the Search Results, or immediately above the Search Results. A Sponsored Link is a hyperlink which
contains the text of the advertiser’s ad, and allows the Internet User to use their mouse to “click” on the
Link, which brings the Internet User directly to the advertiser’s commercial website. The advertisers pay
defendant Google based upon the number of “clicks” on these Sponsored Links. Advertisers bid for
placement of their advertisements for each possible variation of a Keyword, as there is limited space on
defendant Google’s Search Results Page.

23. The so-called “Sponsored Links” do not always clearly identify themselves as
advertisements, and Google’s layout of the ads does not conspicuously identify them as such. This is
particularly true of the Sponsored Links which appear at the top of the Search Results. These ads at the
top of the Search Results are designed by Google to look like part of the “non-sponsored” Search Results,
and by virtue of the fact that they appear at the top of the list of Search Results, Internet Users may infer
that they are the most relevant websites on the Search Results page.

24. Rescuecom Corporation’s name and trademark “Rescuecom” is an often searched
term on the Internet, and defendant Google is aware, either through its personnel or its programming, that
Rescuecom Corporation is in the business of computer services franchising and computer service, repair,
maintenance and consulting.

25. Among the thousands of Keywords submitted to Google.com by Rescuecom
Corporation, Rescuecom Corporation also submits its own name, “Rescuecom” as a Keyword, both alone
and in combination with other words. This means that whenever an Internet User searches on
Google.com for “Rescuecom” or a search term containing Rescuecom, one of Rescuecom Corporation’s
Sponsored Links will appear either immediately above or to the immediate right hand side of the Search

Results. Ifthe Internet User clicks on this link, the user will be brought to Rescuecom’s website.

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26. Rescuecom’s competitors also advertise their services on the Internet, and through
Google’s AdWords advertising program. Many competitors have submitted Rescuecom Corporation’s
trademark “Rescuecom” as a Keyword to Google either alone, or in conjunction with other words, such
that when an Internet User searches on Google.com for “Rescuecom”, the competitor’s advertising
Sponsored Link also appears either to the immediate right or on top of the Search Results page.

27. Upon information and belief, defendant Google has used an online program called
a “Keyword Suggestion Tool” to suggest to one or more of Rescuecom Corporation’s competitors that
they should use the Rescuecom trademark as a Keyword for their advertising. Google’s suggestion is
designed to make such competitors’ advertising more successful, and therefore more profitable for
Google, by intercepting and diverting customers and potential customers of Rescuecom Corporation to
others.

28. Until April of 2004, defendant Google had responded to complaints by Rescuecom
Corporation of trademark violations by removing the Sponsored Link which used the Rescuecom
trademark as a Keyword. After April of 2004, Google changed its policy and thereafter refused to
remove or otherwise disable Sponsored Links which violate federal trademark laws.

29. Upon information and belief, after April of 2004 defendant Google also continued
to suggest to Rescuecom Corporation’s competitors that they use the Rescuecom trademark to make their
advertising more productive by intercepting and diverting Rescuecom Corporation’s customers and
potential customers.

30. Upon information and belief, defendant Google sells advertising using plaintiff

Rescuecom Corporation’s trademark “Rescuecom” as a Keyword for the specific purpose of intercepting
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consumers and customers of Rescuecom Corporation and those who are specifically looking for

Rescuecom Corporation and diverting them to Rescuecom Computer’s competitors.

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L.

Upon information and belief, defendant Google, in cooperation with Rescuecom

Corporation’s competitors, uses the Rescuecom name and trademark in Google AdWords Internet

advertising for several improper purposes, including the following:

A. Diverting potential customers and potential franchisees who are

actively looking for Rescuecom Corporation to one or more competitor’s websites

and services;

B. Taking advantage of and trading upon and receiving the

benefits of the goodwill and good reputation associated with the Rescuecom name

and trademark, which Rescuecom has developed at great expense;

Cc. Giving a competitor’s goods and services appeal, credibility

and marketability by association with the Rescuecom name;

D. Falsely indicating to potential customers and franchisees that

a competitor is sponsored, endorsed, affiliated with or approved by Rescuecom

Corporation;

E. Falsely implying that the competitor’s services are as good as,

or a credible substitute for, those goods and services offered by Rescuecom

Corporation; and

F, Hijacking plaintiff's trademark by diverting the goodwill

associated with the Rescuecom trademark and diverting it to defendant Google’s

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own benefit and the benefit of others, without authorization or compensation to
plaintiff Rescuecom Corporation..

G. Forces plaintiff Rescuecom Corporation to make higher bids
for its own trademark as a Keyword so that plaintiff's Sponsored Links appear on
searches for “Rescuecom”, all to defendant Google’s profit.

32. Defendant Google’s use of the Rescuecom name and trademark via its AdWords
advertising program causes confusion in the marketplace that a competitor’s goods and services are
affiliated with or otherwise approved or “sponsored” by Rescuecom Corporation; causes Rescuecom
Corporation’s name and trademark to be diluted by losing its distinctive quality of being associated solely
with Rescuecom Corporation; allows defendant Google and Rescuecom’s competitors to financially
benefit from and to trade off of the goodwill and reputation of Rescuecom Corporation without incurring
an expense similar to that incurred by plaintiff in building up its brand name; and causes Rescuecom to
lose, in part, control over the commercial use of its own name and trademark by placing such control in
the hands of defendant Google and Rescuecom’s competitors.

33. When an Internet User searching on defendant Google’s Internet Search Engine
for “Rescuecom” is presented with a Search Results Page which contains multiple Sponsored Links, one
of which may be for Rescuecom Corporation, and others for competitors of Rescuecom Corporation,
Internet Users may click on one of the Sponsored Links for a competitor, believing that it is related to,
or sponsored by Rescuecom Corporation. Even if the Internet User realizes that the website they have
been taken to is not Rescuecom Corporation’s website, the damage to Rescuecom Corporation has been
done. A percentage of such Internet Users may either stay at the competitor’s website, or may otherwise

discontinue their search for Rescuecom Corporation. An Internet User may associate the quality of goods

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and services offered on such competitor’s website with those offered by Rescuecom Corporation, and

if dissatisfied with such goods or services, may discontinue their search for such services entirely.

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34. Defendant Google has sold Rescuecom Corporation’s trademark as a Keyword,
and profited thereby, with full intent and awareness of claims that such practice violates trademark laws.
Defendant Google stated in their own prospectus as follows:

Companies have also filed trademark infringement and related claims against us
over the display of ads in response to user queries that include trademark terms.
The outcomes of these lawsuits have differed from jurisdiction to jurisdiction. A
court in France has held us liable for allowing advertisers to select certain
trademarked terms as keywords. We have appealed this decision. We were also
subject to two lawsuits in Germany on similar matters where one court
preliminarily reached a similar conclusion as the court in France, while another
court held that we are not liable for the actions of our advertisers prior to
notification of trademark rights. We are litigating similar issues in other cases in
the U.S., France, Germany and Italy. In order to provide users with more useful
ads, we have recently revised our trademark policy in the U.S. and Canada. Under
our new policy, we no longer disable ads due to selection by our advertisers of
trademarks as keyword triggers for the ads. As a result of this change in policy,
we may be subject to more trademark infringement lawsuits. Defending these
lawsuits could take time and resources. Adverse results in these lawsuits may
result in, or even compel, a change in this practice which could result in a loss of
revenue for us, which could harm our business.

35. By reason of the above, Defendant Google’s actions are deliberate, wilful and with
full knowledge of the requirements of trademark law and were taken upon advice and for the purpose of
its own profit by means of selling plaintiff's and other’s registered and protected trademarks, and
exploiting and trading upon and diverting the benefit of the goodwill associated with Rescuecom
Corporation’s name and trademark without permission or compensation. This constitutes a wilful
violation of plaintiff Rescuecom Corporation’s trademark rights.

36. Internet Users who search for Rescuecom Corporation by using the well-known

Rescuecom trademark as a search term, or in combination with other search terms, are manipulated,

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deceived and otherwise misled into believing that the Sponsored Links of plaintiffs competitors are
related to Rescuecom Corporation, by their placement on the Search Results page, their appearance and
similarity to the Search Results, and/or their content. Nothing on the Search Results page communicates
to an Internet User that such Sponsored Links have no relationship whatsoever to Rescuecom
Corporation, and are in fact paid advertisements by competitors to Rescuecom Corporation.
COUNT I
VIOLATION OF THE LANHAM ACT - 15 USC 1114 (1)

37. Plaintiff repeats and realleges each and every allegation made above as if more
fully set forth at length herein.

38. On March 23, 1998, Rescuecom Corporation, through it predecessor, duly filed
and thereafter registered its trademark “Rescuecom” with the United States Patent and Trademark Office.
The registration number is 22482755.

39. Defendant Google has violated plaintiff's exclusive rights to the name and
trademark “Rescuecom”, and contributed to the violation of such rights by others, by using and
suggesting and encouraging the use by its AdWords advertisers of the trademark “Rescuecom” as a
Keyword as a means of advertising and selling the goods and services of Rescuecom’s competitors
through Google’s AdWords advertising campaign.

AO, Defendant Google’s use of plaintiff's trademark “Rescuecom” constitutes a use
in commerce in connection with the sale, offering for sale, distribution and advertising of goods and
services, though it be for the goods and services of third parties.

4l. The goods and services offered by one or more of Rescuecom’s competitors which

participated in defendant Google’s AdWords campaign by using the trademark “Rescuecom” as a

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Keyword are substantially similar to the goods and services offered by plaintiff Rescuecom Corporation,
that is the franchising of computer repair services, and providing computer repair services or advice to
consumers and businesses.

42. Upon information and belief, defendant Google’s use of Rescuecom’s name and
trademark causes at least some consumers actively seeking to find and do business with Rescuecom
Corporation to click on one or more Sponsored Links linking to the webpages of Rescuecom’s
competitors, either by mistake, or through confusion or because they are deceived into believing such
Sponsored Links are related to Rescuecom.

43. Upon information and belief, defendant Google’s use of Rescuecom’s name and
trademark causes at least initial confusion among Internet Users who see competitor’s Sponsored Links
in response to a search the Internet User conducted looking for Rescuecom.

44, Upon information and belief, there is an expectation among Internet Users who
conduct searches on Internet Search Engines such as defendant Google’s that the results listed, including
the Sponsored Links, will be related to the search term, especially with regard to Sponsored Links that
appear immediately above the Search Results, and are designed to look similar to such Search Results.

45, Rescuecom Corporation, and its franchisees, expend significant sums of money
in advertising the Rescuecom name and trademark both on the Internet and in print. Asa result, the name
“Rescuecom” has become well-known, famous and distinctive in its market, that is among computer
repair companies and professionals, and among individuals and business consumers of computer repair
services.

46. Defendant Google is promoting, encouraging, enabling and profiting from

Rescuecom’s competitors “free-riding” on plaintiffs goodwill and the name recognition it enjoys in its

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marketplace.

47. Upon information and belief, some Internet Users who search for Rescuecom
Corporation on Google’s Internet Search Engine by inputting the word “Rescuecom”, thereafter click
upon a competitor’s Sponsored Link by mistake, or out of confusion or because they are deceived into
believing it is related to the search term “Rescuecom”, and thereafter do not continue their search for
Rescuecom Corporation either because they do business with a competitor, or out of discouragement or
because they are diverted and distracted from doing so.

48. Upon information and belief, after being diverted from their search for Rescuecom
Corporation, some Internet Users lose the initial “momentum” generated by the goodwill associated with
the Rescuecom name, or are otherwise presented with purchasing barriers associated with making a
choice between competing providers of services, and causes Rescuecom Corporation to lose one of the
key benefits of its well known trademark.

49. By reason of the above, defendant Google has violated the exclusive rights of
plaintiff Rescuecom Corporation in and to its use of the registered trademark “Rescuecom”, and has
contributed to the violation of such rights by others by enabling, cooperating with, suggesting and
encouraging the use of Rescuecom Corporation’s trademark by others, and may be held liable in a civil
action under 15 U.S.C. 1114 (1).

50. Defendant Google has refused to alter its policy permitting companies other than
Rescuecom Corporation, including Rescuecom Corporation’s competitors from using the Rescuecom
trademark as a Keyword in association with Sponsored Links, even after due demand; therefore its
violation of plaintiff's trademark rights under the Lanham Act is a wilful and intentional violation of

plaintiff's exclusive rights.
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51. Upon information and belief, defendant Google used and encouraged third parties
to use the name and trademark “Rescuecom” with the intention of benefitting from the goodwill
associated with plaintiffs trademark in that such use was intended to cause confusion, mistake or to
deceive potential customers, or to divert customers from Rescuecom Corporation to third parties, or
otherwise improperly benefit from the goodwill associated with plaintiff's mark.

52. Upon information and belief, defendant Google has altered its policy of regarding
trademark violations through its Internet Search Engine and its AdWords advertising program for the
purpose of profiting from the sale of such additional Keywords and the advertising benefit it provides
to Rescuecom’s competitors. This change in policy was made with the intent of increasing defendant
Google’s advertising revenues, just as it proceeded with its initial public offering.

53. By reason of the above, plaintiff is in violation of 15 U.S.C. 1114 (1) and plaintiff
is entitled to recover profits and damages from defendant.

54. Plaintiff has been damaged by defendant’s violations of its rights under the
Lanham Act in an amount to be determined at trial.

55. Plaintiff's damages are irreparable and it has no adequate remedy at law.

COUNT II
FALSE DESIGNATION OF ORIGIN - 15 U.S.C. 1125 (a)

56. Plaintiff repeats and realleges each and every allegation made above as if more
fully set forth at length herein.

57. Defendant Google’s sale of plaintiff Rescuecom Corporation’s registered
trademark ““Rescuecom” as a Keyword to competitors of Rescuecom Corporation constitutes a use in

commerce.

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58. Internet Users who search using the term “Rescuecom” on defendant Google’s
Internet Search Engine have a reasonable expectation that the websites and hyperlinks appearing on
defendant Google’s Search Results Page are related to plaintiff Rescuecom Corporation.

59. Internet Users who view Sponsored Links, some or all of which appear to be part
of the Search Results, may become confused, mistaken, misled and/or deceived that Sponsored Links
which link to Rescuecom Corporation’s competitor’s websites may be affiliated with, connected to, or
approved by plaintiff Rescuecom Corporation.

60. The placement of such competing Sponsored Links in response to a search by an
Internet User using the trademark Rescuecom as one or more of the search terms constitutes a false
designation of origin, affiliation, connection or association of such competitor with plaintiff Rescuecom
Corporation, or a false description of origin, sponsorship or approval of the goods or services or activities
of such competitor by Rescuecom Corporation, and a contribution to the false designations by others by
enabling, cooperating with, suggesting and encouraging the use of Rescuecom Corporation’s trademark
by others.

61. Plaintiff has suffered and continues to suffer irreparable damages and has no
adequate remedy at law.

COUNT II
DILUTION OF PLAINTIFF’S TRADEMARK - 15 U.S.C. 1125 (c)

62. Plaintiff repeats and realleges each and every allegation made above as if more
fully set forth at length herein.

63. Rescuecom Corporation’s mark, “Rescuecom” is a distinctive and famous mark

under 15 U.S.C. 1125 for the following reasons:

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A. “Rescuecom” is a distinctive unique word which is not merely
descriptive;

B. “Rescuecom” is used extensively in connection with advertising
for plaintiff's services, and those of its franchisees;

C. “Rescuecom” is used throughout the United States in advertising,
wherever plaintiffs franchisees are located, and everywhere through advertising on the
Internet;

D. “Rescuecom” is recognized widely, particularly among Rescuecom

Corporation’s market of potential franchisees who are computer service professionals;

E. No one else uses a mark similar to plaintiff's mark for similar
services;
F, “Rescuecom” has been federally registered by plaintiff as a
trademark.
64. Defendant Google’s use of the trademark “Rescuecom” as a Keyword in

connection with its sale of Sponsored Links is a commercial use in commerce because defendant is a
commercial entity selling and offering for sale advertising on its Internet Search Engine located on the
World Wide Web at Google.com

65. Upon information and belief, defendant’s use of the trademark “Rescuecom” for
commercial use in commerce occurred after plaintiffs trademark “Rescuecom” became famous or
distinctive.

66. Defendant’s use of the trademark “Rescuecom” dilutes the distinctive quality of

plaintiff’ s “Rescuecom” trademark as it causes and can cause confusion among customers and potential

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franchisees of Rescuecom. Customers, and potential customers and potential franchisees of plaintiffmay
view competitor’s advertisements/Sponsored Links in response to a search for Rescuecom on defendant
Google’s Internet Search Engine and reasonably believe that the advertising company, often a competitor
of Rescuecom Corporation, is affiliated or associated with, or approved by or sponsored by plaintiff.
Defendant Google’s use of plaintiff's trademark causes a “blurring” of the trademark’s relationship to
Rescuecom Corporation and its franchisees. It also may lead to consumers viewing plaintiff's name and
trademark “Rescuecom” as a generic term referring to computer repair, diluting the trademark. Finally,
customers or potential customers and potential franchisees may view competitor’s websites after clicking
on their Sponsored Links, and be dissatisfied with the level of quality of services provided by such
competitor, thereby tarnishing the Rescuecom name in the mind of the consumer.

67. Defendant Google’s use of plaintiff's trademark therefore constitutes a dilution
of plaintiff's trademark, or a contribution to the acts of dilution of such trademark by others by
suggesting and encouraging the use of such

68. Plaintiff has incurred and may incur damages related to lost or diverted customers,
or potential franchisees may decline to pursue obtaining a Rescuecom franchise after becoming exposed
to a competitor’s business, believing a relationship exists, or that such competitor is a franchisee of
plaintiff, or that the quality of such competitor’s services are indicative of the quality of plaintiff's
services, or because of a perception that plaintiff is not controlling the use of its trademark for the
exclusive use and benefit of its franchisees, and that plaintiff's marks are diluted and/or tarnished by
defendant’s use of identical marks as a means of advertising such competing businesses.

69. Upon information and belief, defendant Google was aware of plaintiffs use of the

trademark “Rescuecom” and its rights to use of that mark, and willfully intended to trade upon plaintiff's

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reputation or to cause dilution of plaintiff's trademark, or to contribute to such dilution by others. At the
very least, Google’s actions were wilful after it refused to remove such competing Sponsored Links and
refusing to remove Rescuecom’s name from its list of suggested search terms via its Keyword Suggestion
Tool program.

70. Plaintiffs damages are irreparable and plaintiff has no adequate remedy at law.

COUNT IV
COMMON LAW TRADEMARK VIOLATION

71. Plaintiff repeats and realleges each and every allegation made above as if more
fully set forth at length herein.

72. Defendant Google’s use of Plaintiffs trademark “Rescuecom” for the commercial
purpose of selling it in return for advertising revenue, and for the purpose of advertising the goods and
services of those in competition with Rescuecom Corporation, and not for the purpose of referring to
Rescuecom Corporation and its goods and services, and without the permission of Rescuecom
Corporation, is an infringement of Plaintiff's common law trademark rights.

73. Defendant Google’s use of the Rescuecom name and trademark allows defendant
to freely trade off of and benefit from the goodwill and reputation associated with plaintiff's name and
trademark “Rescuecom” without consequent expense to itself, to its advertisers, or compensation to
Rescuecom Corporation.

74. Defendant Google’s use of the Rescuecom name and trademark is deceptive and
is likely to cause confusion or mistake in the minds of potential customers and potential franchisees who
search for Rescuecom Corporation on defendant’s Internet Search Engine, and is therefore a violation

of plaintiffs common law trademark rights and a contribution to the violation of such rights by others

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by encouraging, suggesting and enabling them to do so.
75. As a result, plaintiff Rescuecom Corporation has suffered damages in an amount
to be determined at trial.
76. Plaintiff Rescuecom Corporation’s damages are irreparable, and plaintiff has no
adequate remedy at law.
COUNT V

TRADEMARK DILUTION UNDER NEW YORK STATE
GENERAL BUSINESS LAW 360-L

77. Plaintiff repeats and realleges each and every allegation made above as if more
fully set forth at length herein.
78. Defendant Google’s sale of plaintiff's protected trademark as a Keyword in its
AdWords advertising program is likely to cause injury to plaintiff's business reputation or dilute
plaintiff's trademark, or contribute to such injuries and dilution by the acts of others, for the following
reasons, among others:
A. Competitors who purchase Rescuecom Corporation’s trademark
“Rescuecom” as a Keyword for their Sponsored Links may, and likely do, offer goods and
services which are inferior to those offered by Rescuecom Corporation, and Internet Users
may associate the quality of such goods and services with Rescuecom Corporation;
B. The increased difficulty which Internet Users may have in finding
Rescuecom Corporation when searching for it on defendant Google’s Internet Search
Engine may result in a diminution of plaintiff's business reputation in the mind of the
Internet User, or an impression that plaintiff is unable to control the use of its trademark.

C. Internet Users may view Rescuecom Corporation’s name and

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trademark as not referring solely to plaintiff's goods and services, but being a means of
finding other, competitive goods and services, diminishing and diluting plaintiffs
trademark such that it no longer serves to distinguish plaintiff's goods and services.

D. Defendant Google’s use of the Rescuecom trademark is with the
intent to exploit the favorable impression and goodwill associated with the trademark for
defendant’s own profit, and the profit of advertising partners other than Rescuecom
Corporation, without authorization from, or compensation to plaintiff Rescuecom
Corporation.

79. Plaintiff Rescuecom Corporation’s damages are irreparable and plaintiff has no
adequate remedy at law.
COUNT VI

TORTIOUS INTERFERENCE WITH PLAINTIFF’S
PROSPECTIVE ECONOMIC ADVANTAGE

80. Plaintiff repeats and realleges each and every allegation made above as if more
fully set forth at length herein.

81. Upon information and belief, potential Rescuecom Corporation franchisees are
computer professionals who typically use the Internet to find information on Rescuecom Corporation and
other business opportunities that interest them.

82. Upon information and belief, potential Rescuecom Corporation consumers and
customers are individuals and businesses who own computers and computer systems, and typically use
the Internet to find information on Rescuecom Corporation or other computer service, repair and
consulting companies.

83. Both potential Rescuecom Corporation franchisees and customers are likely to

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attempt to find information on plaintiff, or look for plaintiff's websites, prior to doing business with
plaintiff.

84. Rescuecom Corporation’s websites contain automated, patent pending, business
systems for automatically interacting with potential franchisees and technicians. Virtually all of
Rescuecom’s franchisees obtain information about Rescuecom Corporation through this process, and
otherwise through plaintiff’ s websites. Rescuecom Corporation’s websites also contain interactive links
that allow customers to request computer service online.

85. Drawing interested individuals and businesses to Rescuecom Corporation’s
websites is a key aspect of plaintiff's marketing strategy.

86. Upon information and belief, defendant Google was aware that Rescuecom
Corporation attempts to do business through its website and seeks to attract individuals and businesses
to its website as a part of its business strategy. Among other reasons, Google was aware of this because
Rescuecom Corporation is an AdWords advertising partner with Google and spends a significant sum
of money each month with Google to advertise its websites through Google’s Internet Search Engine.

87. Defendant Google was therefore aware that Rescuecom Corporation had a
reasonable expectation of obtaining new business, new customers and further future economic advantage
through attracting individuals and businesses to its websites as a result of searches on Google’s Internet
Search Engine containing the word “Rescuecom”.

88. Upon information and belief, a percentage of Internet Users who performed
searches on defendant Google’s Internet Search Engine using the protected trademark “Rescuecom” were
diverted from their clear attempt to locate Rescuecom Corporation, to competitors who used Sponsored

Links which appeared on the Search Results page.
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89. Upon information and belief, Rescuecom Corporation would have realized
additional sales, franchisees, customers and revenue from such diverted Internet Users were it not for
defendant Google’s intentional and improper sale of plaintiff's protected trademark “Rescuecom” as a
Keyword for competing Sponsored Links, and defendant Google’s affirmative suggestions and
encouragement for competitors to use “Rescuecom” as a Keyword through its Keyword Suggestion Tool.

90. Such use and encouragement of others to use plaintiffs protected trademark as a
Keyword for Sponsored Links allows both defendant Google and others to benefit and profit from the
goodwill and notoriety of plaintiff's trademark without the expense, time, effort and years of quality
service which Rescuecom Corporation has invested into its business reputation and its trademark, and
is therefore a violation of trademark laws, unfair competition, “free-riding” and is otherwise improper.

91. Defendant Google has intentionally and improperly interfered with Rescuecom
Corporation’s prospective economic advantage by diverting customers actively seeking to find
Rescuecom Corporation through defendant’s Internet Search Engine.

92. Defendant Google has refused to cease and desist from such improper use of
plaintiff's trademarks, despite due demand.

93. Plaintiff Rescuecom Corporation has suffered and will continue to suffer damage
by defendant Google’s improper actions, such damages are irreparable and plaintiff has no adequate
remedy at law.

WHEREFORE, plaintiff Rescuecom Corporation respectfully requests that this Court
grant judgment against the defendant on all causes of action as follows:
A. A preliminary and permanent injunction against defendant Google,
Inc. directing it to discontinue use of the trademark “Rescuecom”, or any substantially

similar word as a Keyword or part of a Keyword phrase in connection with advertising
on its Internet Search Engine, specifically its sale of Sponsored Links through its

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AdWords advertising program;

B. A preliminary and permanent injunction against defendant Google,
Inc. directing it to discontinue the practice of suggesting and encouraging advertisers to
use the Rescuecom name and trademark as part of their AdWords Keywords via Google’s
Keyword Suggestion Tool, or by any other means;

C. A preliminary and permanent injunction against defendant Google,
Inc. directing it to suspend all current Sponsored Links which use “Rescuecom” as a
Keyword or part of a Keyword, other than plaintiff's Sponsored Links;

D. An accounting of all revenue earned by defendant Google, for its
own account or through affiliates or agents, by selling plaintiff s trademark “Rescuecom”
in its AdWords program, or any other advertising program, and an Order to pay such
revenue over to plaintiff Rescuecom, or such percentage of revenue as determined by this
Court to be just and fair;

E. Damages in an amount determined by the Court, up to treble
plaintiff's actual damages in a sum to be determined at trial, or alternatively statutory
damages of not less than $500.00 nor more than $100,000.00 per use of plaintiffs mark,
as the Court considers just, together with punitive damages as determined by the Court;

F. Reasonable attorneys fee as determined by the Court upon
application;

G. Costs and disbursements incurred by the plaintiff; and

H. Together with such other and further reliefs this Court deems just
and proper.

DATED: September 6, 2004
RESCUECOM CORPORATION
/s/ Edmund J. Gegan

Edmund J. Gegan, Esq.

COUNSEL TO RESCUECOM CORPORATION
2560 Burnet Ave.

Syracuse, NY 13206

Telephone: (315) 432-8800
